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              EXHIBIT DD
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Renee Baggett

From:                               Bryan Aylstock
Sent:                               Monday, June 03, 2013 10:08 PM
To:                                 Ben Watson
Cc:                                 Tom P. Cartmell; Renee Baggett; Holly Gibson (hgibson@blizzardlaw.com); Betsy
                                    Williams
Subject:                            RE: Tvt physician education videos and professional Ed decks


Ben,

Any update here?

Thanks
bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Friday, May 17, 2013 4:34 PM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett; Holly Gibson (hgibson@blizzardlaw.com); Betsy Williams
Subject: RE: Tvt physician education videos and professional Ed decks

Bryan,

Thanks for your patience. We are still working to try to identify which are the final versions. We had hoped to have this
completed, but the team is literally having to go through them one by one and it’s not an easy process. Believe me, I
want to get this done as much as you do. I am pushing to get it to you as quickly as I can.

Thanks.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Friday, May 17, 2013 9:17 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett; Holly Gibson (hgibson@blizzardlaw.com); Betsy Williams
Subject: RE: Tvt physician education videos and professional Ed decks

Ben,

Did I miss your email or letter on this?

Thanks
bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Thursday, May 09, 2013 2:46 PM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett; Holly Gibson (hgibson@blizzardlaw.com); Betsy Williams
Subject: RE: Tvt physician education videos and professional Ed decks

Bryan,

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I can assure you that we have been working hard on this but it has not been an easy task. I also agree that you are
entitled to know which ones were used. We have been working on a spreadsheet that we will send you on Monday or
Tuesday.

Thanks.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Thursday, May 09, 2013 10:35 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett; Holly Gibson (hgibson@blizzardlaw.com); Betsy Williams
Subject: RE: Tvt physician education videos and professional Ed decks

Ben,

Thanks for this information, and yes it is helpful. However, now that another 10 days have elapsed, can you provide a
complete list of the final versions of the videos and slide decks? As I am sure you can agree, it is patently unfair for us to
have to guess which were used by your client and which were not used out in the field.

Thanks,
bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Monday, April 29, 2013 11:30 AM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Bryan,

Thank you for your patience while I have looked into this. In response to your inquiry,
attached are the copy review indices that cover the copy review materials for the TVT
products and Prosima. Except for a handful of items that we have been unable to locate
(and that are clearly marked on the attachments), these materials have already been
produced to you. The charts show the production numbers and bates numbers. As for your
specific question as to whether all TVT and Prosima professional education slide decks
have been produced, all professional education slide decks are required to go through the
copy review process prior to being used. It is our understanding that all copy review
related materials relating to these products were collected as part of the copy review
materials collected from the client and the attached indices reflect the highest and best
information from the client from the copy review files. It has been brought to our
attention that, on occasion, the version of the document noted on the copy review index
is not always a final version. Our investigation to match up final versions of the
materials from other locations within the production an ongoing process. But these
materials we believe are included in the documents already produced, and this includes
professional education slide decks.

As for professional education videos, they too are required to go through the copy review
process and would be listed on the attached copy review indices. For your convenience, I
also have included a separate chart of the portable media productions to help you locate
these. Please note that this separate list is not an exhaustive list of what exists in
the production, but should prove useful to you.



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From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Sunday, April 28, 2013 7:38 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Ben,

Another week has gone by. If you cannot confirm that they have been produced, we will need to go the Court. Your
client cannot expect us to work up TVT cases for trial without the physician training videos. I know you personally are
doing your best but your client needs to understand that if we do not get a full production timely, we are being
prejudiced and will have to seek sanctions. The videos were requested ten months ago, as was the TVT registry
data. There is really no excuse for the delay.

Bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Monday, April 22, 2013 11:20 AM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Will do. We’re already looking into this.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Monday, April 22, 2013 11:08 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Thanks Ben,

While you’re checking can you also confirm that you have produced all the of the materials involving any and all TVT
registries, both foreign and domestic, and if so in what productions they are contained?

Best,
bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Monday, April 22, 2013 7:54 AM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Bryan,

I’ve had someone gathering the information on this and should be able to let you know by the end of the day.

Thanks.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Friday, April 19, 2013 11:32 AM
To: Ben Watson
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Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Ben,

Know we’re all busy but with depos coming up we need this soon. Can you please follow up?

Thanks!
bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Tuesday, April 16, 2013 10:28 AM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Let me get the specifics and I’ll get back to you as quickly as I can.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Tuesday, April 16, 2013 7:45 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett
Subject: Tvt physician education videos and professional Ed decks

Ben
Can you please confirm all these have been produced for all tvt products as well as prosima and let us know
which production they are in?
Thanks
Bryan

Sent from my Verizon Wireless 4G LTE DROID

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